Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 1 of 19

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

 

EDNA L. CARUSO, P.A., f/k/a
CARUSO, BURLINGTON, BOHN &
COMPIANI, P.A., a Professional
Association,

CIVIL ACTION NO.:
Judgment Creditor,

VS-
FRIEDA PERLOW

January 20, 2006
Judgment Debtor.

\_/\./VV\_/v\_/V\/\/VVV

 

CERTIFICATION TO CONFIRM FOREIGN JUDGMENTS
On February 7, 2005, July 26, 2005, and November 30,
2005 respectively, Plaintiff Edna L. Caruso P.A., f/k/a
Caruso & Burlington, P.A., f/k/a Caruso, Burlington, Bohn &
Compiani, P.A. obtained three Florida judgments (Exhibit “A”,
“B” and “C” respectively attached hereto) against Defendant

Frieda Perlow as follows:

 

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Judgment Date Original Interest Amount
Amount Outstandingj
2/7/2005 $137,769.17 $13,097.51 $150,866.68
7/26/2005 $67,087.28 $3,271.65 $70,358.93
ll/30/2005 $952.40 $13.31 $965.71
Total: $205,808.85 $16,382.47 $222,191.32

 

Pursuant to Connecticut General Statutes §52-605,
Plaintiff Edna L. Caruso P.A. hereby requests the Court to
treat these three foreign judgments in the same manner as a
Connecticut judgment, in accordance with the following:

1. Plaintiff Edna L. Caruso P.A. is a Florida
Professional Association with its principal office located at
1615 Forum Place, Suite 3A, West Palm Beach, Florida 33401.

2. Defendant Frieda Perlow is an individual residing
at 403 6dlStreet, Lakewood, New Jersey,

3. This Court has jurisdiction of this matter pursuant
to 28 U.S.C. § 1332 because it involves a dispute between
citizens of different states and the amount in controversy
exceeds $75,000, exclusive of interest or costs.

4. Judgments were not obtained by default in
appearance or by confession of judgment.

5. The judgments are entirely unsatisfied.

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Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 3 of 19

6. The total amount of $222,191.32 remains unpaid.
This amount includes post-judgment interest through January
20, 2006 at lO%.

7. Enforcement of the judgments has not been stayed in
Florida; and

8. Defendant Frieda Perlow's last known address is 403

GQZStreet, Lakewood, New Jersey.

   
  
   

 

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§§ustgn_£utnam»iowry, Esq.
Counsel for Edna L. Caruso, P.A.
e s ,
Meriden Executive
530 Presto
. ox 183

Meriden, CT 06450-0183

(203) 235-1651

FAX: (203) 235-9600

eMail: HPLowry@BrownWelsh.com
Federal Bar # CT05955

   
   

     

   

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Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 4 of 19

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CASE NO. CA 03-02345 AB

CARUSO, BURLINGTON, BOHN &

COMPIANI, P.A., a Professional

Association, and PAULA REVENE, ,' ,

ESQUIRE, .
Piaimiffs, ">,;`
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FRIEDA PERLOW, '%;,_ q
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Defendant ", §§ 0
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FINAL JUD E F V R OF
PLAINTIFF, EDNA L. CARUSQ, B.A.

THIS CAUSE having come before the Court for final hearing on December 3,
2004 and January 24, 2005, after entry of default against Defendant, FRIEDA
PERLOW on June 2, 2004, to determine the amounts due Plaintiffs under the G\Eananty
signed by Defendant, FRIEDA PERLOW, and the Court having entertained argument
of counsel, the Court makes the following:

Findin s of Fact and C nclu ions of Law

 

This Comt incorporates the findings of fact and conclusions of law which have
already been stated at the hearings 'in this matter held on December 1, 2004 and

Decembei' 3, 2004.

sooi<ieize/Pageie§e Page 1 of 5 EXHIBIT “A”

 

Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 5 of 19

CARUSO, BUR.LINGTON, ET AL., V. PERLOW CASE NO. CA 03~02345 AB
Final Judgment in Favor of Plaintiff,
Edna L. Caruso, P.A~

Defendant’s Motion to Vacate Default is DENIED. Having reviewed the Motiori
and the Afi°idavit ofFrieda Perlow, the Court does not see a basis for excusable neglect
Although there appears to be neglect, it appears to be inexcusable neglect, given the
length and period of time the case has gone on, and the number of orders entered This
Court also noted at a prior hearing the number of those motions that resulted in
sanction orders against Defendant And this Court also noted that FRIEDA PERLOW,
the Defendant herein, cannot merely bury her head in the sand, and merely rely upon
those representations of her attorney for such a lengthy period of time, if, indeed, that
is the case.

The Plaintiffs in this case have been severely prejudiced both in time and money
by Defendant’s inexcusable neglect At this point, if there is any dispute to be had
regarding attorney/client communications between Defendant’ s son, Esig Perlow, and
Defendant’s prior attomey, David Marshall Brown, Esquire, that is an issue between
Mr. Perlow and Mr. Brown for which the Plaintiffs in this case should no longer bear
any kind of responsibility or burden.

The Court does not find that there would have been a meritorious defense in any
event under the Defendant’s Motiori to Vacate Det`ault; that is, that the condition

precedent argument upon which the Defendant relied. This Court finds the condition

Book18128/Page1857 Page 2 of 5

 

Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 6 of 19

CARUSO, BURLING'I`ON, ET AL., V. PERLOW CASE NO. CA 03-02345 AB
Final Judginent in Favor of Plaintii`f,
Edna L. Caruso, P.A.

precedent has been satisfied; that Plaintiff, EDNA L. CARUSO, P.A., has exhausted
her attempts to secure payment from Esig Perlow directly and through the courts and
that this case is now ripe for final judgment on the Guaranty executed by Defendant,
FRIEDA PERLOW.

Based on the evidence presented on the attomeys’ fees, this Court finds that the
amounts sought are reasonable, necessary and appropriate considering the standards
articulated in Rule of Professional Conduct 4-1.5(b), and the cases of Ela, Batient’s
Compensatign Eund v. gowe, 472 So.2d 1145 (Fla. 1985), and §t@dard guaranty
Insurance Cg. v. Qu@§trom, 555 So.Zd 828 (Fla. 1990).

The Court finds that Edna L. Caruso, Esquire’s attorney’s fees of 517.3 hours
to be reasonable, given her experience, given her reputation in this community, given
the amount of time and dedication it took away nom other business, and given the
sophistication of the nature of the action, the fact that the action proceeded all the way
to the Florida Supreme Court, yielding an opinion which by many accounts is a
significant opinion in the area of proposed matrimonial orders submitted to courts for
their review, and/or entry.

The Court finds the hourly rate of Edna L. Caruso, Esquire of $350 per hour,

then $400 per hour, to be reasonable based on Ms. Caruso’s experience in this area, her

Book18128/Page1858 Page 3 of 5

 

Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 7 of 19

CARUSO, BURLINGTON, ET AL,, V. PERLOW CASE NO. CA 03~02345 AB
Final Judgment in Favor of Plaintiff,
Edna L. Caruso, P.A.

reputation as one of the foremost appellate attorneys in this area, and is in keeping with
appellate fees in this area generally.

Ms. Caruso testified with credibility that Esig Perlow’s demand upon her time
was significant that the records that he submitted to her were out of keeping; that he
had been representing himself, and that she had to put additional work into this case
to simply identify the issues on appeal which normally would have come from a trial
attorney that was not present in this particular case.

The interest rate of ten percent (10%) is contained within the Guaranty. lt has
been contractually agreed to; it is not usurious. Therefore, this Court finds the amount
of attorney’s fees sought by Plaintiff, EDNA L. CARUSO, P.A., of $l 14,991.44 to be
reasonable, appropriate, and necessary to the legal services performed and results
obtained. In addition, the Court awards as the interest amounts $l 1,499.14 in interest
calculated through 2004, plus $11,278.59 in interest calculated through Ianuary 24,
2005, at ten percent (10%) per annum. lt is therefore

ADIUDGED that Plaintifl`, EDNA L. CARUSO, P.A., f/k/a CARUSO &
BURLING'I`ON, P.A., t`/k/a CARUSO, BURLINGTON, BOHN & COMPIANI, P.A.,
1615 Forum Place, Suite 3-A, West Palm Beach, Florida 33401, recover from

Defendant, FRJEDA PERLOW, 403 6"’ Street, Lakewood, New Jersey, 08701, whose

Book18128/Page1859 Page 4 of 5

 

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CARUSO, BURLINGTON, E'I` AL., V. PERLOW CASE NO. CA 03~02345 AB
Final Judgment in Favor of Plaintiff,
Edna L. Caruso, P.A.

Social Security Number is XXX-XX-XXXX, the total amount of $ l 3 7,769.17, which total
amount shall bear interest at the rate of ten percent (10%) per year, for which let
execution issue.

Jurisdiction of this action is retained to enter further orders that are proper
including without limitation, an award of attorney’s fees and costs under the Guaranty
for prosecuting the instant action.

DGNE AND ORDERED at West palm Beach, Palm Beach County, Florida this

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&oiacurr count JUDGE

g./
7 day orrebruary, 2005.

gopies furnished !o:

Diran V. Scropian, Esq.

EDNA L. CARUSO, P.A.

1615 Forum Place, Suite J.A
West Pa|m Beach, Florida 33401

Paula Revene, Esq.
600 South Andrews Avenue, Suite 404
Fort Laudcrdale, Florida 33301

Christopher Chopin, Esquire
CilRISTOPHER CHOFlN, P.A.
301 Clematis Street, Suite 3000
West Pa|m Beach, Florida 33401

Frieda Perlow

403 6"' Street
Lakewood, New jersey 08701

"'/"~,.,, BooktSiZB/PagelSBO Page 5 of 5
.__) /,,

l hereby certify that the foregoing is a true copy
of the record in my office this day, Nov 16, 2005.

Sharon B c`k ,`Clerk ircult Court, Pa|m Beach County, Florida
BY ' Deputy C|erk

 

 

 

Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 9 of 19

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CARUSO, BURLINGTON, BOHN &
COMPIANI, P.A., a Professional
Association, and PAULA REVENE,
ESQUIRE,

Plaintiffs,
vs~

FRIEDA PERLOW,

Defendant,

FINAL S MMARY

IN THE CIRCUIT COURT OF THE
lSTH JUDICIAL CIRCUIT IN AND
FOR PALM BEACH COUNTY,
FLORIDA
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CASE NO. CA 03-02345 AB

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NTA 'l` ATTORNEY ’FEES

INQQBBLQ BY PLAIE IIFF, EDNA L. CARUSO, P.A,

THIS CAUSE having come before the Court for hearing on July 20, 2005, after

entry of Final Judgment In Favor of Plaintiff, EDNA L. CARUSO, P.A., f/k/a

CARUSO & BURLINGTON, P.A., f/l</a CARUSO, BURLINGTON, BOHN &

COMFIANI, P.A. (hereinal’ter “EDNA L. CARUSO, P.A.”), against Defendant,

FRIEDA PERLOW on Pebruary 7, 2005, to determine EDNA L. CARUSO, P.A.’s

attorneys’ fees incurred in collecting and prosecuting Defendant’s obligation under

the written Guaranty, and the Court having reviewed the pleadings, and having

entertained argument of counscl, the Court makes the following:

Page l of 6

§§

Book18994/Page375

 

page 1 of 6 EXHIBIT “B”

Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 10 of 19

CARUSO, BURLINGTON, ET AL., V. PERLOW CASE NO. CA 03-02345 AB
Final Summa.ry Judgrnent As to Attomeys’ Fees
lncurred by Plaintiff, Edna L. Caruso, P.A.

Em_r_l_in_g_sgf§_a_c_t - The Court finds that:

l. The 135 .9 hours expended by Diran V. Seropian, Esquire, as of April l,
2005 in this collection action were reasonable and necessary.

2. Diran V. Seropian, Esquire’s hourly rate of $400.00 is reasonable

3. The 11.2 hours expended by Edna L. Caruso, Esquire, as of April l,
2005 in this collection action were reasonable and necessary.

4. Edna L. Caruso, Esquire’s hourly rate of $450.00 is reasonable

5. 'Ihe attorneys’ fees incurred by EDNA L. CARUSO, P.A. in this
collection action as of April l, 2005 were $59,400.00.

6. The costs incurred by EDNA L. CARUSO, P.A. in this collection action
as of April l, 2005 Were $7,687.28.

7. The Court determines that Plaintiffs’ Request for Admission in Aid of
Execution, served on April 7, 2005, paragraphs l through 17, are deemed
conclusively admitted for all purposes in connection with this litigation

8. The Afiidavit ofDiran V. Seropian, Esq., substantiates Plaintiffs, EDNA
L. CARUSO, P.Ai ’S attorney’s fees and costs incurred in collecting and prosecuting

Defendant’s obligation under the written Guaranty.

Page 2 of 6

Book18994/Page376 Page 2 of 6

 

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CARUSO, BURL!NG'!`ON, ET AL.. V. PERLOW CASE NO. CA 03-02345 AB
Final Sunnnary Judgment As to Attorneys’ Fees
lncurred by Plaintiff, Edna L. Caruso, P.A.

9. Plaintit`fs’ expert, lack J. Aiello, Esquire, testified unrebutted that Diran
V. Seropian, Esquire’s hours and hourly rate were reasonable and necessary for the
results obtained

lO. lack J. Aiello, Esquire also testified unrebutted that Edna L. Caruso,
Esquire’s hours and hourly rate were reasonable and necessary for the results
obtained.

ll. Plaintiffs’ Request for Adrnissions to Defendant In Aid Of Execution,
served on April 7, 2005, to which Defendant has filed neither a response nor an
objection, are deemed admitted for all purposes in connection with this litigation
Msu

Based on the evidence presented on the attorney’s fees, this Court finds that the
amounts sought are reasonable, necessary and appropriate, considering the standards
articulated in Rule of Prot`essional Conduct 4-1.5(b), and the cases of Pla. Patient’s
§_t_)_ngpe_nsation Fund v. Rowe, 472 So.2d l 145 (Fla. 1985), and Standard Guaranty

insurance §§o. v. Quanstrom, 555 So.2d 828 (Fla. 1990).
The Court finds that Diran V. Seropian, Esquire’s attorney’s fees of 135.9

hours to be reasonable, given his experience, given his reputation in the community,

Page 3 of 6

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CARUSO, BURLINGTON, ET AL., V. PERLOW CASE NO. CA 03-02345 AB
Final Summary Judgmcnt As to Attorneys’ Fees
incurred by Plaintitf, Edna L. Caruso, P.A.

given the amount of time and dedication it took away from other business, and given
the obstreperous conduct of Defendant.

The Court finds that Edna L. Caruso, Esquire’s attorney’s fees of 11.2 hours
to be reasonable, given her experience, given her reputation in the community, given
the amount of time and dedication it took away from other business, and given the
obstreperous conduct of Defendant

The Court finds the hourly rate of Diran V. Seropian, Esquire of $400.00, and
the hourly rate of Edna L. Caruso, Esquire of$450.00, to be reasonable based on their
experience in this area, their reputation in the community, and is in keeping with
appellate fees in this area generally. h

Therefore, this Court finds the amount of attorneys’ fees as of April l, 2005
sought by Plaintiff, EDNA L. CARUSO, P.A., of $59,400.00 to be reasonable,
appropriate, and necessary to the legal services performed and results obtained. In
addition, the Court awards costs to Plaintiff, EDNA L. CARUSO, P.A,, of`$7,687.28.

lt is therefore ADJUDGED that Plaintiff, EDNA L. CARUSO, P.A., 1615
Forurn Place, Suite 3-A, West Palm Beach, Florida 33401, recover from Defendant,

FRIEDA PERLOW, whose addresses are: Frieda Perlow, 403 6"‘ Street, Lakewood,

Page 4 of 6

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Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 13 of 19

CARUSO, BURLINGTON, E'l` AL., V. PERLOW CASE NO, CA 03'02345 AB
Final Summary Judgmcnt As to Attorneys` Fees
lncurred by Plaintiff, Edna l_,. Caruso, P.A.

New Jersey, 0870 1 ; Frieda Perlow, l 82 Lakewood-New Egypt Road, Lakewood, New
Jersey 08701-2932; Frieda Perlow, c/o Esig Perlow, 20359 Monteverdi Circle, Boca
Raton, Florida 33498; and Frieda Perlow, c/o Sean D. Gertner, Esquire,
ROTHSTEIN, MANDELL, STROHM, MUST & GERTNER, P.O. Box 3017,
Lal<ewood, New Jersey 08701; and whose Social Security Number is XXX-XX-XXXX,
the total amount of $67,087.28, which total amount shall bear interest at the rate of
ten percent (10%) per year, for which let execution issue.

Jurisdiction of this action is retained to enter further orders that are proper,
including, without limitation, an award of additional attorneys’ fees and costs under
the Guaranty for prosecuting the instant action, including expert witness costs, to
Plaintiff, EDNA L. CARUSO, P.A., and to Plaintiff, PAULA REVENE, ESQUIRE,
and to enforce Defendant, FRIEDA PERLOW’s compliance with this Final Summary
Judgrnent.

Jurisdiction of this action is also retained to enter further orders that are proper
including without limitation, an award of attorney’s fees and costs under the
Guaranty to Plaintiff, PAULA REVENE, ESQUIRE, for prosecuting the instant

action.

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CASE NO. CA 03-02345 AB

CARUSO, BURLlNGTON, ET AL., V. PERLOW

Final Summary Judgrnent As to Attomeys’ Fees
lncurred by Plaintit`f, Edna L. Caruso, P.A.

DONE AND ORDERED at West Palm Beach, Palm Beach County, Florida this

62 G""day of July, 2005.

 

 

ies f is to:
Diran V. Seropian, Esq.
EDNA L. CARUSO, P.A.
1615 Forum Place, Suite 3-A
West Palm Beach, Florida 33401

Paula Revene, Esq.
600 South Andrews Avenue, Suite 404

Fort Lauderdale, Florida 33301

Frieda Perlow

403 6"‘ Street
Lakewocd, New Jersey 08701

Frieda Perlow
182 Lakewood-New Egypt Road

Lakewood, New Jersey 08701-2932

Frieda Perlow

c/o: Esig Perlow

20359 Monteverdi Circle
Boca Raton, Florida 33498

Frieda Perlow
c/o: Sean D. Gertner, Esquire
ROTHSTEIN, MANDELL, STROHM, MUST & GERTNER

   

 

   
 

P.o. sex 3017
Lakewood,New jersey 0870}
Page 6 of 6
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gas =c ,<>, \.() ",, 1 hereby certify that the foregoing is a true copy
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,Z,-, '- :.- -._§z; of the record m my othce this day, Nov 17, 2005.
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‘ BY w /¢Z&r/ Deputy C|erk

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Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 15 of 19

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FoR PALM BEACH coUN'rY,
FLoRmA

CASE NO. CA 03~02345 AB

CARUSO, BURLINGTON, BOHN &

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COMPIANI, P.A., a Professional b d
Association, and PAULA REVENE, '_ m
ESQUIRE, ;;_ ;
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Plaintiffs, gm o
vs- ';'~>_~j :'i.>`
PRIEDA PERLOW, '~`
Defendant.
/
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THIS CAUSE having come before the Court for hearing on November 30,
2005, on the above-referenced Motion, and the Court having reviewed the pleadings,

having entertained argument of counsel, and being otherwise fully advised in the

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premises, it is hereby
ORDERED AND ADJUDGED that Plaintiff is entitied to recover expert

Witness costs of $952.40, for Plaintiff’s expert witness

Page 1 of 3

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Book19614/Page561 Page 1 of 3 EXHIBIT “C”

 

Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 16 of 19

CARUSO, BURLINGTON, ET AL., V. PERLOW CASE NO. CA 03~02345 AB
Order Granting Plaintiffs’ Motion to Tax Costs
and Final Judgment

lt is therefore ADJUDGED that Plaintiff, EDNA L. CARUSO, P.A., f/k/a
CARUSO & BURLINGTON, P.A., f/k/a CARUSO, BURLINGTON, BOHN &
COMPIANI, P.A., 1615 Forum Place, Suite 3A, West Palm Beaeh, Florida 33401,
recover from Defendant, PRIEDA PERLOW, whose addresses are: Frieda Perlow,
403 6"‘ Street, Lakewood, New Jersey, 08701; Frieda Perlow, 182 Lakewood-New
Egypt Road, Lakewood, New Jersey 08701»2932; Frieda Perlow, c/o Esig Perlow,
20359 Monteverdi Circle, Boca Raton, Florida 33498; and Frieda Perlow, c/o Sean
D. Gertner, Esquire, GLUCK, ALLEN & GERTNER, 217 Washington Street, Toms
River, New Jersey 08753; and whose Social Security Number is 189-28»4774, the
total amount of $952.40, which total amount shall bear interest at the rate of ten
percent (10%) per year, for which let execution issue.

Jurisdiction of this action is retained to enter further orders that are proper,
including, without limitation, an award of additional attorneys’ fees and costs under
the Guaranty for prosecuting the instant action, including expert witness costs, to
Plaintiff, EDNA L. CARUSO, P.A., and to Plaintift`, PAULA REVENE, ESQUIRE,

and to enforce Defendant’s compliance with this Finai Judgment.

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CARUSO, BURLINGTON, ET AL., V. PERLOW CASE NO. CA 03~02345 AB

Order Graming Piaintit`fs‘ Motion to Tax Costs
and Final Judgment

DONE AND ORDERED at West Palm Beach, Pa{m Beach County, Ftorida this

gowraer A!g¢b_»g§¢¢ ,2005.

%IRCUIT coURT JUDGE

C i fumis t :

Diran V. Seropian, Esq., EDNA L. CARUSO, P ,A., 1615 Forum Place, Suite 3~A, West Palm Beach,
Florida 33401

Paula Revene, Esq., 600 South Andrews Avenue, Suite 404, Fort lauderdale Flon`da 33301

William A. Fleck, Esq., KRAMER, ALI, FLECK. HUGHES, GELB & BORNSTEIN, 6650 West
Indiantown Road, Suite 200, Jupitcr, FL 33458

Frieda l’erlow, 403 6"' Street, lakewood, Nc'w Jersey 08701
Frieda Perlow, 182 Lakewood-New Egypt Road, Lakcwood, New Jersey 08701-2932
Frieda Perlow, c/o: Esig Periow, 20359 Monteverdi Circle, Boca Raton, Fiorida 33498

Frieda Perlow, e/o: Sean D. chtncr, Esquire, GLUCK, ALLEN & GERTNER, 217 Washington
Street, Toms ijer, NJ 08753

  

Page 3 of 3
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E~J_: 4 ”v` _ ........ _cl;`l", - - '
;v; wise 1.__) 3 1 hereby certify that the foregoing is a true copy
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Case 3:06-mc-00028-I\/|RK Document 1 Filed 02/01/06 Page 18 of 19

iN THE DlSTRlCT COURT OF AFFEAL OF THE STATE OF FLOR|DA
FOURTH D|STR|CT, P.O. BOX 3315, WEST PALM BEACH, FL 33402

 

April 27, 2005
CASE NO.: 4D05-1203
L.T. No. : 502003CA002345XXCD
AB
FR|EDA PERLOW v. EDNA L. CARUSO. P.A.,
ETC.. ET AL.

Appeilant / Petitioner(s), Appeilee l Respondent(s).
BY CRDER OF THE COURT:

ORDERED that appellees' motion filed March 29, 2005. to dismiss is granted. and

the above-styled appeal is hereby dismissed; further,
ORDERED that appellees' motion filed March 29, 2005, for attorney's fees is

hereby denied.
l HEREBY CERT|FY that the foregoing is a true copy of the original court order.

Served:

Sharon R. Bock, C|erk Criristopher Chopin Edna L. Caruso
Diran V. Seropian

Cd

 

RlL N BEUFI'E|'~MULLER, C|erk
Fourth Distr|ct Court of Appeal

 

EXHIBIT “D”

 

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CERTIFICATE OF SERVICE

 

I hereby certify that a copy of the foregoing was mailed
on this 20§§ day of January, 2006 to:

Frieda Perlow
403 §§ street
Lakewood, New Jersey 08701

Frieda Perlow

C/o Esig Perlow

20359 Monteeverdi Circle
Boca Raton, Florida 33498

Frieda Perlow
182 Lakewood-New Egypt Road
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